Case morose Document 78-2 Filed 04/13/06 Page 1 of 9_

: DISTRICT COURT
| ene DISTRICT OF LOUISIANA

FILED APR | 3 cub
LORETTA G. WHYTE
UNITED STATES DISTRICT COURT CLERK

EASTERN DISTRICT OF LOUISIANA

MAUREEN O’DWYER, ET AL. * CIVIL ACTION NO.

VERSUS « oso = S418
UNITED STATES OF AMERICA,
ET AL. * sections «&

MAGISTRATE O

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PLAINTIFFS’ SUPPLEMENTAL MEMORANDUM
IN SUPPORT OF THEIR MOTION FOR
LEAVE TO SUPPLEMENT AND AMEND COMPLAINT
MAY IT PLEASE THE COURT:

The plaintiffs’ proposed 12™ amendment of their Complaint is not being filed by a
lawyer who is in bad faith, or to retard the progress of this litigation, nor is it an untimely
or futile filing.

The only reason why plaintiffs’ proposed 12" amendment, less than one (1) year
from the event of Hurricane KATRINA, before most parties have even answered
plaintiffs’ lawsuit, and before any substantive activity in the case has taken place, has
become a “cause celebré”, is due to the to the following unfortunate statement which was
made on the record in Open Court by Magistrate Judge Knowles on February 22, 2006, in

connection with his granting plaintiffs’ Motion for Leave to Supplement and Amend

Complaint for the 11" time: ___. Fee
_.. Process
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Case eS Document 78-2 Filed eo. Page 2 of 9

“Mr. O’Dwyer, I am going to grant your motion. If they had a rule
in judges’ school, again, I wasn’t aware of it. If they had a rule in judges’
school saying that ten strikes and you’re out, I didn’t hear it. However,
since I have been on the bench for three years, I think it’s time we have a
Knowles’ rule and until its reversed upstairs we’re going to have a
Knowles’ rule and that is eleven strikes and you’re out. Future
amendments are not going to be granted in this case, Mr. O’ Dwyer, unless
you give me some really, really, really good reasons to do so.

Motion is granted.”

That statement on the record occupied but one page of the “official” transcript of
the proceedings on February 22, 2006, and ignores the arguments advanced on plaintiffs’
behalf in the other 16 pages of transcript. It is respectfully submitted that what was
argued on behalf of plaintiffs in the other 16 pages is what should be focused on by This
Honorable Court in deciding whether to grant plaintiffs’ pending Motion for Leave to
Supplement and Amend Complaint for the 12% time, in order to, essentially, invoke
admiralty and maritime jurisdiction:as a separate jurisdictional basis for plaintiffs’ claims,
and to “tweak” their allegations against the United States of America.

A copy of the complete transcript of the proceedings in Open Court on February
22, 2006 is attached as Exhibit No. 1, ' and the arguments advanced on behalf of
plaintiffs at oral argument at the time that motion was decided are specifically
incorporated herein by reference thereto. Your Honor should also should know that the
legal issues revolving around amendment of pleadings was fairly extensively briefed to
Magistrate Judge Knowles, and Your Honor is particularly directed to Record Document

No. 112, attached and marked for identification as Exhibit No. 2, all of which, it is

respectfully submitted, also support the granting of leave to file the proposed 12"

' The transcript also was attached to the Government’s Memorandum in Opposition to plaintiffs’ Motion.

-2-
Case 2:05-cv-04182-SRD-JCW Document 78-2 Filed eo. Page 3 of 9

amendment of plaintiffs’ Complaint, Magistrate Knowles’ unfortunate admonishment to
the undersigned on the record notwithstanding.

Plaintiffs do owe the Court and the defendants an explanation for why the Court’s
admiralty and maritime jurisdiction, and more particularly jurisdiction under the Suits in
Admiralty Act, was not invoked earlier. The answer is quite simple, and does not involve

any bad faith or dilatory motive, but simply, “He didn’t think of it sooner.”

It was only while doing legal research in the separate litigation involving the
Lower Ninth Ward, and the barge owned by Ingram Barge Company in the care, custody
and control of other parties, namely Civil Action Nos. 05-4237 and 05-4419, that
exceptions to the administrative claims requirements of the Federal Tort Claims Act were
discovered in an admiralty and maritime context under the Suits in Admiralty Act. (46
U.S.C. §741, et seg.). The Government has filed Motions to Dismiss the cases involving
the Lower Ninth Ward, which clearly involve Ingram’s barge and purely admiralty and
maritime proceedings in which the barge owner is seeking exoneration from or limitation
of liability, as well as allegations against non-governmental parties who had care, custody
or control of the barge or who secured the barge prior to Hurricane KATRINA. In the
course of researching the law in an attempt to defeat the Government’s Motion to
Dismiss those case, it became abundantly clear that the invocation of admiralty and
maritime jurisdiction, and more particularly the Suits in Admiralty Act, would defeat the
Government’s Motions to Dismiss.” Accordingly, plaintiffs filed motions for leave to

amend their pleadings as follows: in C.A. No. 05-4237 on March 1, 2006, Record

Incidentally, the adverse admiralty and maritime law was not cited to the court by the Government in
those cases.
Case ee Document 78-2 Filed eo. Page 4 of 9

Document No. 36; and in C.A. No. 05-4419 on March 2, 2006, Record Document No.
72.

Thereafter, while “thinking” about the pleadings which had been filed in C.A.
Nos. 05-4237 and 05-4419 in the context of allegations that the Government had
negligently designed, .constructed, inspected and maintained an entire navigable
waterway system, the Times Picayune ran a story on March 8, 2006, entitled: “CORPS
IGNORED CRUCIAL LEVEE DATA”. That newspaper article, which was attached to
plaintiffs’ original Memorandum in Support of their Motion to Supplement and Amend
Complaint, reflected:

“In 1965, Congress authorized the corps to develop a system to
protect the New Orleans area from ‘the most severe meteorological
conditions that are considered reasonably characteristic of the region,’
giving birth to the Lake Pontchartrain and Vicinity Hurricane Protection
project.

Hassan Mashriqui, a storm surge modeler at LSU, said the
increased intensity outlined in the 1979 report would have raised the
predicted storm surge along the Mississippi River-Gulf Outlet from 22 feet
to 30 feet. During Katrina much of St. Bernard Parish suffered
catastrophic flooding when long sections of the 17.5-foot —high MR-GO
levee were topped and collapsed by storm surges that the crops has
measured at 18.5 feet.

The Industrial Canal, meanwhile, was topped and collapsed by a
peak storm surge that the corps measured at 15.9 feet. That breach
destroyed much of the Lower 9" Ward and contributed to flooding in parts
of St. Bernard Parish.

It is unclear whether higher floodwalls would have prevented the
breaches at the 17" Street and London Avenue canals that put much of the
rest of New Orleans underwater. Forensic engineers working with the
National Science Foundation have said weak soil layers beneath the
floodwalls failed when the canals began filling with water, causing the
breaches.
Case ees Document 78-2 Filed oe. Page 5 of 9

Other GAO reports indicate the corps actually was lowering its
levee heights even as the new science was raising the heights of expected
storm surges.

Neither the National Weather service nor corps officials could shed
light on why the changed parameters were not reflected in the crops
project specifications. A weather service spokesman said current staffers
either were not at the agency then or were uninvolved in writing the
reports.”

After reading that, the thought immediately occurred to the undersigned that, if applicable
to Civil Action Nos. 05-4237 and 05-4419, why wouldn’t admiralty and maritime
jurisdiction, and the Suits in Admiralty Act (insofar as the claims against the Government
are concerned) not also be applicable to Civil Action No. 05-4181? After all, if New
Orleans is viewed as a “bowl”, then wouldn’t one breach in a levee fill up the bowl until
the breach was closed or the water level equalized on either side of the breach?
Accordingly, the very next day, March 9, 2006, a Motion for Leave to
Supplement and Amend Complaint was drafted and filed in the Maureen O’ Dwyer
matter, C.A. No. 05-4181, as well. Predictably, many of the parties defendant in this
case, none of whom concede that they are legally responsible for anything,
notwithstanding their standing in elected and protective capacities to the innocent
citizenry of the Greater New Orleans Metropolitan Area, have “squealed like stuck pigs”.
The Court is now faced with deciding a motion to be taken under submission on
Wednesday, April 19, 2006, essentially rehashing law which was cited to Magistrate

Judge Knowles previously, under facts which plaintiffs maintain are distinguishable from

the authorities cited by those opposing plaintiffs’ most recently sought amendment.
Case ees Document 78-2 Filed eo. Page 6 of 9

Plaintiffs are ever mindful of Magistrate Judge Knowles’ admonishment that further
amendments will not be allowed without good cause. Plaintiffs respectfully submit that
they have presented good cause, because new facts about the inundation of the Greater
New Orleans Metropolitan Area continue to be revealed. Further, all of the legal
authorities cited by the parties opposing plaintiffs’ motion for leave to amend are
distinguishable from the facts presented in the case at bar.

THE CASES CITED BY OPPOSING
PARTIES ARE DISTINGUISHABLE

1)  Wimmy. Jack Eckard Corp., 3 F.3d 137 (5 Cir. 1993)

The plaintiffs first sought leave to amend 33 months after a child’s
death, and 9 months after the action had been commenced, while a
summary judgment (that’s a Rule 56 motion for summary
judgment, not a Rule 12(b) motion to dismiss) filed by the
defendants was already pending. The Court found that the
plaintiffs were aware of the factual basis for which they sought
leave to amend for more than one year prior to the action being
filed. Additionally, in the proposed amendment the plaintiffs
asserted an entirely new, separate “mislabeling” claim, which
constituted an entirely new and separate basis for recovery. The
Court found as a matter of fact that the child did not receive a toxic
amount of cough syrup. Also, the Court made a factual finding
that the Government was prejudiced because the amendment
would have required adding additional parties. Obviously, this
case is distinguishable from the case at bar.

2) Davis v. United States, 961 F.2d 53 (5" Cir. 1991)

The plaintiffs erroneously brought suit under the Federal Tort
Claims Act, alleging breach of contract, which the FTCA does not
provide relief for. As was the case in Wimm, supra, the plaintiffs
filed their motion for leave to amend to avoid a motion for
summary judgment, which had already been filed. The proposed
amendment was not even attached to plaintiffs’ motion for leave to
amend, and alleged violations of constitutional rights, which also
are not covered under the Federal Tort Claims Act. Obviously,
this case is distinguishable from the case at bar.
Case 2:05-cv-04182-SRD-JCW Document 78-2 Filed 04/13/06 Page 7 of 9

3)

4)

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6)

Stafford v. Mobile Oil Corp., 945. F.2d 803 6" Cir. 1991)

In this case, there was a specific finding of bad faith and dilatory
motive in order to avoid summary judgment where the plaintiff
alleged diversity jurisdiction by amendment, which was
specifically contested by the defendants. Additionally, the plaintiff
sought to “prove” diversity where diversity had not been pleaded,
and the Court made a factual determination that there was no
diversity. Accordingly, leave to amend was denied as futile.
Obviously, this case is distinguishable from the case at bar.

v. Michell, 634 F.2d 199 (5" Cir. 1981)

The facts relevant to this case, which was decided in 1981, had
begun in 1974. Also, the plaintiffs’ motion for leave to amend was
filed only after motions to dismiss and/or for summary judgment
had been taken under submission, and were framed so as to realign
a party as a defendant in order to assert diversity jurisdiction.
Obviously, this case is distinguishable from the case at bar.

Chitimacha Tribe of Louisiana v. Harry L. Laws Company, Inc., 690

F.2d 1157 (5" Cir. 1982)

The case’s admittedly “complicated procedural history” began
with the commencement of the action in July 1977. The plaintiffs’
first amendment, with leave of Court, was not filed until July 1979,
2 years after the filing of the original complaint. A motion for
leave to file the second amendment was filed in August 1979, and
set for hearing in November. The day before the hearing, the
plaintiffs filed a motion to recuse the District Judge. The action
was then transferred to the Chief Judge, who ruled that an
amendment to add Iberia Parish to the suit, not pleaded originally,
was a gratuitous basis for attempting to qualify the District Judge.
Obviously, this case is distinguishable from the case at bar.

Thompson v. Boggs, 33 F.3d 847 (7" Cir. 1994)

This case involved a third amendment to assert an illegal seizure
claim against one defendant, three years and nine months after the
event, and less than one month prior to the trial being set to
convene. The Court ruled that there was no abuse of discretion in
denying leave to amend under those circumstances, which are far
more egregious than the circumstances in the case at bar.

Case moog Document 78-2 Filed eo. Page 8 of 9

CONCLUSION

Although undersigned counsel for plaintiffs would much prefer that the Court rule
in his clients’ favor on the motion before it, one admittedly distasteful alternative to his
clients being denied substantive rights would be the filing of a new action, which would
be a timely one, and there would be precious little the parties opposing plaintiffs’ Motion
for Leave to Supplement and Amend Complaint could do about it. This may yet happen,
because the undersigned has promised the Untied States of America “an Easter Surprise”.
Perhaps the best course is for counsel opposing the subject motion to look to what Your

Honor said and did in C.A. Nos. 05-4237 and 05-4419:

MOTIONS:
(1) MOTIONS: Plaintiffs’ Motion for Leave to File
Supplemental and Amending Complaint, Record Doc. No.
90 (No. 36 in C.A. No. 05-4237)
(2) Plaintiffs’ Motion for Leave to Amend Answer and For
Leave to Supplement and Amend Claim and Third-Party
Complaint, Record Doc. No. 72
ORDERED:

(), (2): GRANTED. The policy of the Federal Rules of Civil procedure is
liberal in favor of permitting amendment of pleadings, and the trial court’s
discretion is not broad enough to permit denial of leave to amend “unless there is
a substantial reason” to do so. Dussouy v. Gulf Coast Investment Corp., 660 F.2d
594, 598 (5™ cir. 1981). Thus, leave to amend “shall be freely given when justice
so requires,” Fed. R. Civ. P. 15(a), but “is by no means automatic.” Wimm v.
Jack Eckerd Corp., 3 F.2d 137, 139 oo" Cir. 1993) (quotation omitted). Relevant
factors to consider include “undue delay, bad faith or dilatory motive on the part
of the movant, repeated failure to cure deficiencies by amendments previously
allowed, undue prejudice to the opposing party, and futility of amendment.” Id.

Weighing these factors militates in favor of granting these motions. The
amendments to claims are being filed well before the August 29, 2006 deadline
previously established by the court. Record Doc. No. 21. Under these
circumstances, I find no undue delay, bad faith, dilatory motive or prejudice to the
only party which opposes this motion, the United States. In addition, I cannot
Case eg Document 78-2 Filed eo. Page 9 of 9

determine on the current record that the motion is futile, an issue that in any event

is more appropriately addressed by the district judge when she rules on the

pending motion of the United States to dismiss. Record Doc. No. 88 (No. 32 in

C.A. No. 05-4237). Accordingly, these motions are granted.

Undersigned counsel reiterates that he is not in bad faith, is not seeking leave to
amend for purposes of delay or to retard the progress of this litigation, which he wants to
move forward; nor is the proposed amendment an untimely or futile filing. It is

respectfully submitted that plaintiff should be granted leave to supplement and amend

their complaint for the 12" time.

Respectfully submitted,

LAW OFFICES OF
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In Proper Person

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CERTIFICATE OF SERVICE
I hereby certify that a copy of the foregoing has been served upon all counsel of

record via facsimile this "of April 2006.

